4:07-cr-03079-RGK-DLP   Doc # 59   Filed: 06/09/08   Page 1 of 1 - Page ID # 102



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )    4:07CR3079
     v.                              )
                                     )
JOSE ROMO-CORRALES and               )
FRANCISCO GALVAN-VALDEZ,             )       ORDER
                                     )
     Defendants.


     IT IS ORDERED:

     1. An evidentiary hearing on defendant Galvin-Valdez’s
motion to suppress evidence, filing 57, will be held jointly with
the hearing of co-defendant Romo-Corrales before the undersigned
on July 14, 2008 beginning at 1:30 p.m. in Courtroom #2, United
States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The court has set aside three hours
for this hearing.

     2. The defendants, defendants’ counsel, and counsel for the
government shall be present at this hearing.

     3. Pursuant to NECrimR 12.5, copies of all exhibits
expected to be offered into evidence during the hearing, except
those to be used for impeachment only, shall be delivered to the
chambers of the undersigned at least twenty-four (24) hours
before the hearing and, at the outset of the hearing, to the
extent reasonably possible, the parties shall provide the
undersigned and the courtroom deputy with a written list of all
witnesses the parties expect to call.

     4. As to both defendants, the trial of this case is
continued until further order of the court following resolution
of outstanding motions.

     Dated June 9, 2008.

                                   BY THE COURT

                                   s/    David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
